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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge Walker D. Miller


   Civil Action No. 05-cv-00377-WDM-BNB

   MOISES CARRANZA-REYES,

           Plaintiff,

   v.

   PARK COUNTY, et al.,

           Defendants.




                NOTICE OF DISMISSAL AS TO JAMES BACHMAN, M.D. ONLY




           The court takes judicial notice that the parties have filed a Stipulated Motion To

   Dismiss With Prejudice Plaintiff’
                                   s Fourth Claim for Relief Against Dr. Bachman in

   accordance with Fed. R. Civ. P. 41(a)(1). Accordingly, the Fourth Claim for Relief

   against James Bachman, M.D. is dismissed with prejudice, each party to pay his or its

   own costs and attorneys’fees.

           DATED at Denver, Colorado, on November 9, 2006

                                                    BY THE COURT:



                                                    s/ Walker D. Miller
                                                    United States District Judge




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